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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :   CASE NO.
                                                  :
             v.                                   :
                                                  :
 JAMES RAY EPPS, SR.                              :   VIOLATION:
                                                  :   18 U.S.C. § 1752(a)(2)
                   Defendant.                     :   (Disorderly or Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :
                                                  :

                                       INFORMATION

       The United States Attorney charges that:


                                        COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JAMES RAY EPPS, SR.

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds—that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting—when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions, and attempted and conspired to do so.

       (Disorderly or Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))
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                                 Respectfully submitted,


                                 MATTHEW M. GRAVES
                                 United States Attorney
                                 D.C. Bar No. 481052.


                     By:         /s/ Michael M. Gordon_______
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